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   7

   8

   9                        UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11

  12    THRIVE NATURAL CARE, INC.,         Case No. 2:20-CV-9091-PA-AS
  13                   Plaintiff,          PLAINTIFF’S STATEMENT OF
                                           UNCONTROVERTED FACTS AND
  14         v.                            CONCLUSIONS OF LAW IN
                                           SUPPORT OF MOTION FOR
  15   THRIVE CAUSEMETICS, INC.,           PARTIAL SUMMARY JUDGMENT
  16                   Defendant.          Hon. Percy Anderson
  17                                       Hearing Date: September 13, 2021
                                           Time: 1:30 p.m.
  18                                       Courtroom: 9A
  19

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                                                      PLAINTIFF’S STMT OF UNCONTROVERTED
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   1                                    Index of Exhibits
   2   Declaration of Alex McIntosh (“McIntosh Decl.”)
   3         Ex. A p.1 1 – Certificate for U.S. Trademark Reg. No. 4,467,942
   4         Ex. B p.4 – Combined Declaration of Use and Incontestability and
   5               Acceptance of Combined Declaration for ’942 Registration
   6         Ex. C p.16 – Certificate for U.S. Trademark Reg. No. 6,164,303
   7         Ex. D p.19 – 2016 Email Exchange with Ms. Bodnar and Mr. McIntosh
   8         Ex. E p.21 – 2017 Cease-and-Desist Letter from Thrive to TCI
   9         Ex. F p.24 – TCI’s Response to Thrive’s Cease-and-Desist Letter
  10         Ex. G p.27 – Amazon Reviews Showing Actual Confusion
  11         Ex. H p.32 – Walmart.com Listing Showing Actual Confusion
  12         Ex. I p.35 – Poshmark Listing Showing Actual Confusion
  13         Ex. J p.37 – Google Searches Showing Products Side-by-Side
  14         Ex. K p.65 – Bing Searches Showing Products Side-by-Side
  15         Ex. L p.74 – Online Marketplace Images Showing Products Side-by-Side
  16         Ex. M p.84 – Email Exchange with L. Ertz Showing Actual Confusion
  17         Ex. N p.86 – Thrive’s Pending Trademark Application
  18         Ex. O p.93 – Screenshots of TCI Advertising for Hybrid Products
  19   Declaration of Stephen McArthur (“McArthur Decl.”)
  20         Ex. A p.1 – Excerpts of TCI 30(b)(6) Deposition of Karissa Bodnar and
  21               Deposition Exhibits (“Depo. Ex.”) 10-12, 16-18, 20, 27, 28, 30, 32, 33,
  22               35, 36 [filed under seal]
  23         Ex. B p.179 – Excerpts of Deposition of Brendan Gardner-Young and Depo.
  24               Ex. 45 [filed under seal]
  25         Ex. C p.217 – Excerpts of TCI 30(b)(6) Deposition of Ned Menninger and
  26               Depo. Ex. 2-4 [filed under seal]
  27   1
        Pagination in index refers to bold page numbers in footer of exhibits to each
  28   declaration.
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   1        Ex. D p.260 – Excerpts of Deposition of Ned Menninger and Depo. Exs. 38,
   2              39, 40, 41 [filed under seal]
   3        Ex. E p.302 – November 30, 2015, Office Action on THRIVE
   4              CAUSEMETICS trademark application
   5        Ex. F p.314 – TCI’s Response to 2015 PTO Office Action
   6        Ex. G p.337 – June 22, 2016, Reply from PTO on Office Action
   7        Ex. H p.344 – August 28, 2018, Office Action on second THRIVE
   8              CAUSEMETICS trademark application
   9        Ex. I p.360 – TCI’s Response to 2018 PTO Office Action
  10        Ex. J p.381 – November 23, 2018, PTO Suspension Letter
  11        Ex. K p.385 – July 28, 2021, Office Action on second THRIVE
  12              CAUSEMETICS trademark application
  13        Ex. L p.394 – Dictionary Definitions of “thrive”
  14        Ex. M p.400 – Examples of Media Coverage of TCI
  15   Declaration of Rob Wallace (“Wallace Decl.”)
  16        Ex. A p.1 – Expert Report of Rob Wallace and Attachments
  17        Ex. B p.208 – Screenshots of Parties’ Products Appearing Together in Online
  18              Searches
  19   Declaration of David Drews (“Drews Decl.”)
  20        Ex. A p.1 – Supplemental Schedules of Damages [filed under seal]
  21        Ex. B p.5 – Expert Report of David Drews and Attachments [filed under
  22              seal]
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   1         Pursuant to FRCP 56 and L.R. 56-2, Plaintiff Thrive Natural Care, Inc.
   2   (“Thrive”) submits the following Separate Statement of Undisputed Facts and
   3   Conclusions of Law in Support of its Motion for Summary Judgment.
   4   I.     Undisputed Facts
   5

   6    No.                     Undisputed Facts                     Evidence
   7
        1.  Thrive began using the mark “THRIVE” (the “THRIVE McIntosh
            Mark”) in relation to skincare products in August 2013. Decl. ¶¶ 3-4
   8        Those products consisted of Thrive Face Balm (a skin
   9
            lotion/cream/moisturizer product), Thrive Face Wash (a
            cleanser), and Thrive Shave Oil (a shaving and skin
  10        moisturizing oil).
  11
        2.    Thrive began selling skincare products under the THRIVE McIntosh
  12          Mark not later than 2014, at least four years before Defendant
                                                                      Decl. ¶¶ 3-4;
  13          Thrive Causemetics, Inc. (“TCI”) began selling skincare McArthur
              products under its THRIVE CAUSEMETICS brand.            Decl., Ex. A
  14                                                                  at 45:10-22,
  15                                                                  91:10-16,
                                                                      Depo. Ex.
  16                                                                  16
  17    3.    Today, Thrive sells a range of skincare and grooming McIntosh
              products, including face washes and scrubs, lotions and Decl. ¶ 5
  18          creams, moisturizers, sunscreens, face balms, shaving
  19          lotions, and grooming oils—all of which use the THRIVE
              Mark (collectively, “Thrive Products”).
  20

  21    4.    Plaintiff Thrive’s skincare products and Defendant TCI’s McIntosh
              skincare products both prominently feature the THRIVE Decl. ¶ 34;
  22          Mark on the product packaging. One example is below.     Wallace
  23                                                                   Decl. ¶¶ 10-
                                                                       11;
  24                                                                   McArthur
  25                                                                   Decl., Ex. A
                                                                       at 26:21-
  26                                                                   27:12, Depo.
  27                                                                   Ex. 10
  28
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        5.   Thrive’s skincare products and TCI’s skincare products are       McIntosh
  13         shown together in online search results extremely frequently.    Decl. ¶¶ 41-
  14         This includes searches on the most popular search engines,       43, Exs. J,
             including Google, Google Shopping, Bing, Bing Shopping,          K; Wallace
  15         and Duck Duck Go. One example is shown below from a              Decl. ¶ 10,
  16         Google Shopping search for “thrive natural care,” the full       Ex. B
             name of Plaintiff Thrive’s company.
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   1    6.    Thrive sells its Thrive Products online through its website, McIntosh
   2          www.thrivecare.co, online through Amazon.com and Decl. ¶ 6
              Walmart.com via retail partnerships with Amazon and
   3          Walmart, and in physical brick-and-mortar retail stores at
   4          Whole Foods Markets.

   5    7.    Thrive includes its THRIVE mark and branding on every McIntosh
   6          product it sells, and it has done so since 2013. Each Thrive Decl. ¶ 7
              product bears THRIVE branding, including the word
   7          THRIVE in block or bold letters on the package front as well
   8          as additional references to THRIVE on the bottle or package.
   9    8.    In addition to Thrive’s product packaging, Thrive’s McIntosh
  10          marketing and advertising often uses the term “Thrive Decl. ¶ 8
              skincare” to refer to Thrive Products, as well as terms that
  11          include the word “thrive” and words describing the product
  12          at issue, such as “Thrive moisturizer,” “Thrive cleanser,” and
              “Thrive sunscreen.”
  13

  14    9.    Prices for the Thrive Products range between $12.95 for a McIntosh
              soap bar to $54.95 for a VIP Kit containing several Thrive Decl. ¶ 9
  15
              Products.
  16
        10.   Thrive targets both men and women for its Thrive Products. McIntosh
  17
              While it sells items such as beard oil to men, Thrive targets Decl. ¶ 10
  18          female customers for items like sunscreen, cleansers, lotions,
              and moisturizers. Women have always formed a sizable part,
  19
              and in recent years the majority, of Thrive’s customer base.
  20          More than 60 percent of Thrive’s purchasers on Amazon are
              women. That ratio is similar in brick-and-mortar stores such
  21
              as Whole Foods.
  22
        11.   Thrive’s mission is to sell the highest quality organic skincare McIntosh
  23
              products while using ingredients sourced through Decl. ¶¶ 11-
  24          partnerships with women-led and smallholder farmers in 18
              Costa Rica. Those farmers use regenerative agriculture
  25
              methods to cultivate native plants for Thrive while improving
  26          the local soil quality and the livelihoods of rural farming
              communities. Thrive has gained a reputation and following
  27
              for being on the leading edge of healthy, natural, sustainable
  28
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   1          skincare. Thrive has received substantial media coverage of
   2          its company and its mission.

   3    12.   Consumers who are interested in Thrive’s skincare products McIntosh
   4          are those seeking natural, toxin-free skincare products made Decl. ¶ 14
              with high-quality ingredients.
   5

   6    13.   Thrive has advertised widely on social media and received McIntosh
              significant attention from the media and its retail partners Decl. ¶¶ 15-
   7          such as Amazon for Thrive’s high-quality products and 18
   8          business practices.
   9    14.   Thrive owns all right, title, and interest in and to U.S. McIntosh
  10          Trademark Registration No. 4,467,942 (the ’942 Decl. ¶ 20,
              Registration”), which was registered January 14, 2014, for Ex. A
  11          the word mark “THRIVE” in relation to the following goods
  12          in International Class 003: “Non-medicated skin care
              preparations, namely, facial lotions, cleansers and creams,
  13          creams and oils for cosmetic use, skin moisturizers; pre-
  14          shaving preparations; after shave lotions and creams.” The
              application which matured into the ’942 Registration was
  15
              filed September 11, 2012.
  16
        15.   Thrive’s ’942 Registration has been deemed “incontestable” McIntosh
  17
              by the U.S. Patent & Trademark Office (“PTO”). On March Decl. ¶ 21,
  18          7, 2020, the PTO accepted the Combined Declaration of Use Ex. B
              and Incontestability under Sections 8 & 15 filed by Thrive on
  19
              January 13, 2020, in which Thrive attested that it had used its
  20          THRIVE Mark in commerce on the claimed goods
              continuously for more than five years since the registration
  21
              date.
  22
        16.   Thrive owns all right, title, and interest in and to U.S. McIntosh
  23
              Trademark Registration 6,164,303 (the “’303 Registration,” Decl. ¶ 22,
  24          and, together with the ’942 Registration, the “THRIVE Ex. C
              Registrations”), which was registered September 29, 2020,
  25
              for the word mark “THRIVE” in relation to the following
  26          goods in International Class 003: “Body and non-medicated
              soaps and skin cleansing gels; non-medicated skin care
  27
              preparations, namely, facial lotions, cleansers and creams,
  28
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   1          oils for cosmetic use, skin moisturizers; cosmetic sun care
   2          preparations and sunscreens; shaving creams and gels; pre-
              shaving preparations; after shave lotions and creams.” The
   3          application which matured into the ’303 Registration was
   4          filed May 2, 2016.

   5    17.   The Merriam Webster dictionary definition of “thrive” is “to McArthur
   6          grow vigorously; to gain in wealth or possessions; to progress Decl., Ex. L
              toward or realize a goal despite or because of circumstances.”
   7          Other dictionary definitions are similar, and none use “thrive”
   8          in a way that would define a particular quality about skincare
              products.
   9

  10    18.   Thrive has strongly enforced its rights to the THRIVE Mark McIntosh
              in relation to skincare products, including sending numerous Decl. ¶¶ 23-
  11          cease-and-desist letters and pursuing litigation for trademark 24
  12          infringement. These efforts have been successful. Thrive is
              the only entity that owns a registration for the mark
  13          “THRIVE”, either standing alone or as the first word in the
  14          trademark, in relation to skincare and grooming products.
              Other registrations or applications that were similar have
  15          been refused by the PTO, canceled, or abandoned.
  16
        19.   Karissa Bodnar founded Defendant TCI in 2014. TCI’s first McArthur
  17
              products on the market, beginning in September 2014, were Decl., Ex. A
  18          false eyelashes for women undergoing cancer treatments and at 15:9-16:5
              adhesive for false eyelashes. TCI sold those products under
  19
              the THRIVE CAUSEMETICS brand.
  20
        20.   In August 2015, TCI became aware of Thrive and                McArthur
  21
              Thrive’s ’942 Registration, when TCI received a trademark     Decl., Ex. A
  22          search report identifying Thrive’s ’942 Registration as a     at 183:16-
              potential conflict with TCI’s THRIVE CAUSEMETICS              187:13,
  23
              mark.                                                         Deposition
  24                                                                        Exhibit
                                                                            (“Depo.
  25
                                                                            Ex.”) 27
  26    21.   TCI expanded into color cosmetics in 2015-16, when it began McArthur
              to sell eyeliner followed by browliner and a color stick. The Decl., Ex. A
  27
              term “color cosmetics” means makeup.                          at 22:18-
  28
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   1                                                                 23:17,
   2                                                                 24:21-25:23;
                                                                     Ex. B at
   3                                                                 33:6-7
   4    22.   In November 2015, the PTO issued an Office Action McArthur
              rejecting an application by TCI to register THRIVE Decl., Ex. E
   5          CAUSEMETICS, citing a likelihood of confusion with at 4
   6          Thrive’s ’942 Registration (the “2015 Office Action”).

   7    23.   By January 8, 2016, Ms. Bodnar of TCI had developed plans McArthur
   8          for TCI to release at least three different skincare products in Decl., Ex. A
              2017.                                                            at 114:3-
   9                                                                           119:18;
  10                                                                           Depo. Ex.
                                                                               18 at TCI-
  11                                                                           00019101
  12    24.   On May 26, 2016, TCI filed a response to the 2015 Office McArthur
              Action, arguing as follows:                                      Decl., Ex. F
  13                                                                           at 12
  14                “The specific goods in Applicant [TCI]’s
                    application are not identical to those in the
  15
                    THRIVE registration, and the examining
  16                attorney does not attempt to argue that they are.
                    Nor are Applicant’s goods even in the same
  17
                    category as those in the THRIVE registration.
  18                The common category of Applicant’s goods is
                    cosmetics, while the common category of the
  19
                    goods in the THRIVE registration is skincare
  20                and shaving products. Such products are found
                    in different aisles or departments than standard
  21
                    make-up cosmetics, such as eyeliner, and are
  22                distinctly different types of consumer goods.
                    Given the dissimilarity in the marks, a higher
  23
                    nexus in the relatedness of the parties’ goods is
  24                required to support a finding of likelihood of
                    confusion.”
  25

  26          TCI did not disclose the PTO that, by the time this
              response was filed, Ms. Bodnar had already developed
  27
              plans to release skincare products through TCI.
  28
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   1

   2    25.   TCI’s argument to the PTO in response to the 2015 Office McArthur
              Action caused the PTO to withdraw its refusal with respect to Decl., Ex. G
   3          Thrive’s ’942 Registration.                                   at 2
   4
        26.   Before TCI responded to the PTO’s 2015 Office Action, on           McArthur
   5          April 22, 2016, Ms. Bodnar of TCI contacted Thrive via             Decl., Ex. A
   6          email and asked for permission to use the THRIVE Mark as           at 196:7-
              part of TCI’s brand name. Ms. Bodnar identified TCI as “a          202:2, Depo.
   7          color cosmetics brand with a mission to help women going           Ex. 30
   8          through cancer treatment look and feel better during their
              time of need.” She promised “[w]e will never use the word
   9          ‘Thrive’ without the word ‘Causemetics’. . . .” Ms. Bodnar
  10          never disclosed to Thrive that, by this time she had developed
              plans to release skincare products through TCI in 2017.
  11

  12    27.   Thrive’s co-founder, Alex McIntosh, denied Ms. Bodnar’s            McIntosh
              request for permission to use the THRIVE Mark. Thrive              Decl. ¶ 25,
  13          chose not to pursue the issue further at that time because it      Ex. D;
  14          thought that TCI would abide by Thrive’s decision not to           McArthur
              allow use of the mark, because of Ms. Bodnar’s statement           Decl., Ex. A
  15
              that TCI would “never use the word ‘Thrive’ without the            at Depo. Ex.
  16          word ‘Causemetics’”, and because of Ms. Bodnar’s                   30
              implication that TCI would stay in its lane of women’s color
  17
              cosmetics.
  18
        28.   In July 2016—shortly after Ms. Bodnar contacted Thrive and         McArthur
  19
              represented that TCI would only sell color cosmetics, and          Decl., Ex. A
  20          shortly after TCI argued to the PTO that TCI’s color               at 99:19-
              cosmetics and Thrive’s skincare products fell into entirely        101:13,
  21
              different categories—Ms. Bodnar sent a pitch presentation to       109:14-
  22          Sephora, a large beauty product retailer. In that presentation,    112:24,
              Ms. Bodnar stated TCI had plans to expand from color               Depo. Ex.
  23
              cosmetics into skincare products in 2017 by launching one          17 at TCI-
  24          skincare product in the third quarter of 2017 and five more        00019155
              skincare products in the fourth quarter of 2017.
  25

  26    29.   Thrive sent a cease-and-desist letter to TCI on March 3, 2017, McIntosh
              in response to TCI beginning to de-emphasize the term Decl. ¶ 26,
  27
              “Causemetics” in TCI’s branding. TCI rejected the demand Exs. E, F
  28
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   1          to stop using the name THRIVE on its color cosmetics
   2          products and argued again that there would be no consumer
              confusion between the parties’ products because they sold
   3          “different product lines” (color cosmetics and skincare
   4          products). Thrive relied on the statement by TCI that its
              makeup products were entirely different “product lines” from
   5          Thrive’s skincare products, with no overlap, and chose not to
   6          pursue the matter further.

   7    30.   In December 2017, an investor in and advisor to TCI, Blythe   McArthur
   8          Jack, notified Ms. Bodnar about Thrive because Ms. Jack had   Decl., Ex. A
              received a communication about Thrive and believed Thrive     at 129:1-23,
   9          was similar to TCI.                                           190:8-
  10                                                                        191:11,
                                                                            Depo. Ex.
  11                                                                        28
  12    31.   In April 2018, TCI made a second attempt to register its McArthur
              THRIVE CAUSEMETICS mark. On August 28, 2018, the Decl., Ex. H
  13          PTO issued an Office Action (“2018 Office Action”) at 2-4
  14          rejecting TCI’s application, citing a likelihood of confusion
              with Thrive’s ’942 Registration and Thrive’s then-pending
  15          second application for the THRIVE Mark, which matured as
  16          the ’303 Registration.
  17
        32.   In the 2018 Office Action, the PTO also stated that TCI “must McArthur
  18          disclaim the wording ‘COSMETICS’ in the mark because it Decl., Ex. H
              merely describes an ingredient, quality, characteristic, at 4
  19
              function, feature, purpose, or use of applicant’s goods and/or
  20          services, and thus is an unregistrable component of the
              mark.” The PTO stated “CAUSEMETICS” is merely a
  21
              misspelling of “COSMETICS” and as such, is merely
  22          descriptive and must be disclaimed.
  23
        33.   In TCI’s response to the 2018 Office Action, TCI argued McArthur
  24          again that its cosmetics products and Thrive’s skincare Decl., Ex. I
              products were “found in different aisles or departments than at 7-8
  25
              standard make-up cosmetics, such as eyeliner, and are
  26          distinctly different types of consumer goods.” TCI further
              argued that TCI’s “Goods and Services are marketed toward
  27
              and used to help women, whereas [Thrive’s] Cited Goods are
  28
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   1          marketed toward men.”
   2
        34.   This time, the PTO disagreed with TCI’s argument and McArthur
   3          suspended TCI’s second application, maintaining the refusal Decl., Ex. J
   4          to register the THRIVE CAUSEMETICS mark due to a
              likelihood of confusion with Thrive’s ’942 Registration and
   5          then-pending application that matured as the ’303
   6          Registration.

   7    35.   Recently, on July 28, 2021, the PTO un-suspended TCI’s McArthur
   8          second application for THRIVE CAUSEMETICS and issued Decl., Ex. K
              an Office Action maintaining the refusal to register due to a
   9          likelihood of confusion with both THRIVE Registrations.
  10
        36.   In late 2018, after the PTO’s rejection of TCI’s second McArthur
  11          trademark application, TCI began selling skincare products Decl., Ex. A
  12          under the THRIVE CAUSEMETICS brand.                           at 45:10-22,
                                                                            91:10-16,
  13                                                                        Depo. Ex.
  14                                                                        16
        37.   TCI sold three skincare products under the radar through McArthur
  15
              2019. In 2020, TCI significantly expanded and officially Decl., Ex. A
  16          announced its skincare line, releasing more than a dozen new at 45:24-
              products.                                                     47:11, Depo.
  17
                                                                            Ex. 16
  18    38.   TCI sells numerous skincare products under the THRIVE McArthur
              CAUSEMETICS brand. The term “skincare products,” Decl., Ex. A
  19
              according to TCI, means products a person uses on their skin. at 26:1-4,
  20                                                                        27:3-28:8
                                                                            Depo. Exs.
  21
                                                                            10, 11
  22    39.   TCI sells a significant amount of its products to men, in McArthur
              addition to women. For example, one of TCI’s online Decl. Ex. A
  23
              advertising campaigns over four months, from November 7, at 142:1-
  24          2019, to February 4, 2020, tracked that $338,075 in sales 145:24,
  25
              directly from the campaign were made to customers Depo. Ex.
              identified as men, and $963,399 in sales were made to 20
  26          customers of unknown gender.
  27
        40.   On June 27, 2019—following the PTO’s rejection of TCI’s McIntosh
  28
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   1          second application to register THRIVE CAUSEMETICS due              Decl. ¶ 29;
   2          to a likelihood of confusion with both THRIVE                      McArthur
              Registrations—Ms. Bodnar called Thrive’s co-founder, Mr.           Decl. Ex. A
   3          McIntosh. Ms. Bodnar begged Thrive to allow TCI to use the         Depo. Exs.
   4          “THRIVE” name. Mr. McIntosh refused her request, pointed           32, 33
              out that TCI’s actions were confusing consumers and
   5          retailers, and reminded Ms. Bodnar about Thrive’s trademark
   6          registrations. Mr. McIntosh stated that, for there to be any
              agreement, TCI must at a minimum (1) alter its logo to
   7          deemphasize the word “Thrive” as compared to
   8          “Causemetics,” and (2) agree to compensate Thrive with a
              significant licensing fee for TCI’s past and potentially future
   9          use of the THRIVE Mark.
  10
        41.   TCI never responded to Thrive’s request to propose a McIntosh
  11          licensing fee or to stop using the THRIVE Mark.      Decl. ¶ 29
  12
        42.   TCI’s website now features a separate “skincare” navigation McIntosh
  13          page, which displays many of the skincare products TCI sells. Decl. ¶ 31;
  14          A portion of that page is shown below.                        McArthur
                                                                            Decl., Ex. A
  15                                                                        at 27:3-
  16                                                                        28:16, Depo.
                                                                            Exs. 10-11;
  17                                                                        Ex. B at
  18                                                                        91:12-92:16,
                                                                            Depo. Ex.
  19
                                                                            44
  20

  21

  22

  23
        43.   TCI now sells many skincare products under the THRIVE              McIntosh
  24          CAUSEMETICS brand. These include face and body                     Decl. ¶ 32;
              cleansers, lotions, creams, moisturizers, sunscreen, lip balm,     McArthur
  25
              hand sanitizer, and face oils, all of which are within the scope   Decl., Ex. A
  26          of Thrive’s THRIVE Registrations (collectively, “Infringing        at 94:1-
              Skincare Products”). The Infringing Skincare Products              97:23, Depo.
  27
              consists of TCI’s entire skincare line, including the following    Ex. 16; Ex.
  28
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   1          products: Overnight Sensation Brightening Sleep Mask;             C, Depo.
   2          Liquid Balm Lip Treatment; Gravity Defying Transforming           Exs. 2, 3;
              Moisturizer; Bright Balance 3-in-1 Cleanser; Defying              Ex. D, Depo.
   3          Gravity Eye Lifting Cream; Liquid Light Therapy All-in-One        Ex. 38
   4          Face Serum; Moisture Flash Active Nutrient Toner; Deluxe
              Travel Defying Gravity Transforming Moisturizer; Defying
   5          Gravity Transforming Moisturizer; Deluxe Travel Bright
   6          Balance 3-in-1 Cleanser; Moisture-Enriched Hand Sanitizer;
              Overnight Sensation Gentle Resurfacing Peel; Pumpkin
   7          Spice Latte Liquid Lip Balm Treatment; Smart
   8          Microdermabrasion 2-in-1 Instant Facial; Defying Gravity
              Nourishing Hand + Nail Cream; Smart Microdermabrasion
   9          2-in-1 Instant Facial; Buildable Blur CC Cream; Filtered
  10          Effects Blurring Primer; all travel sized versions of these
              products; and all “sets” that include any of these products as
  11          part of the set.
  12
              These products include at least the following SKU numbers:
  13          TCC001-TCC019; TP001; TSC002; TSC003; TSC004;
  14          TSC005; TSC006; TSC007; TSC008; TSS002; TSS003;
              TSS004; TVG007; TVG070; TVG133; TVG134; TVG136;
  15          TVG137; TVG138; TVG141; TVG142.
  16
        44.   TCI has continued to develop and release Infringing Skincare
                                                                       McArthur
  17          Products after Thrive filed this litigation. Thrive also has
                                                                       Decl., Ex. A
  18          planned to expand by offering additional skincare and    Depo. Ex.
              grooming products, as evidenced by its pending trademark 12;
  19          application.                                             McIntosh
  20                                                                   Decl. ¶ 47,
                                                                       Ex. N
  21
        45.   TCI has offered for sale, displayed, and sold all of the McArthur
  22          Infringing Skincare Products online through its website, Decl., Ex. A
              www.thrivecausemetics.com.                               at 77:21-24,
  23
                                                                       81:3-10,
  24                                                                   87:13-17,
                                                                       Depo. Ex.
  25
                                                                       16; Ex. B at
  26                                                                   16:17-17:9,
                                                                       39:20-24
  27
        46.   Both parties’ skincare products are inexpensive, ranging McIntosh
  28
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   1          between approximately $10 and $60.                                Decl. ¶ 9;
   2                                                                            McArthur
                                                                                Decl., Ex. A
   3                                                                            at 87:13-23,
   4                                                                            Depo. Ex.
                                                                                16
   5

   6    47.   Both parties’ products prominently feature the THRIVE             McIntosh
              Mark on goods that are identical in kind. This creates a          Decl. ¶¶ 34-
   7          significant likelihood that consumers would believe the           35, 43;
   8          products are related or come from the same source. For            Wallace
              example, consumers would be likely to believe that TCI’s          Decl. ¶ 9;
   9          Infringing Skincare Products are a women’s line and Thrive’s      McArthur
  10          Thrive Products are a men’s line that both come from the          Decl., Ex. A
              same company.                                                     at 26:21-
  11                                                                            27:12, Depo.
  12                                                                            Ex. 10
        48.   In online searches of popular search engines including            McIntosh
  13          Google and Bing, and on Google Shopping and Bing                  Decl. ¶¶ 41-
  14          Shopping searches, the parties’ skincare products frequently      42, Exs. J,
              appear together and side-by-side, including photographs of        K; Wallace
  15          TCI’s Infringing Skincare Products and of Thrive’s Thrive         Decl. ¶¶ 10-
  16          Products, along with links to the purchase portals for each       11, Ex. B.
              company. A consumer searching online for Thrive’s skincare
  17          products is highly likely to be presented with images of and
  18          links to TCI’s Infringing Skincare Products together with
              Thrive Products.
  19

  20    49.   TCI has purchased many Google advertising keywords for            McArthur
              terms that included the word “thrive” but did not include the     Decl., Ex. B
  21
              word “causemetics”. These included the following keywords         at 56:14-20,
  22          purchased by TCI: “thrive” (used repeatedly by TCI), “thrive      68:5-7, 97:8-
              cleanser,” “thrive moisturizer,” “+thrive +lip +balm,” “thrive    113:23,
  23
              liquid balm,” “thrive promo code,” “+thrive +holiday +set,”       Depo. Ex.
  24          and “thrive lip treatment,” among others.                         45
  25
        50.   Advertisements for TCI’s Infringing Skincare Products,            McIntosh
  26          images of those products, and links to TCI’s webpages for         Decl. ¶¶ 41-
              those products, all frequently appear directly next to Google     43, Exs. J,
  27
              and Bing search results seeking Thrive’s skincare products,       K; Wallace
  28
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   1          including search results for “Thrive skincare,” “Thrive Decl. ¶ 10,
   2          natural care,” “Thrive cleanser,” “Thrive lotion,” and “Thrive Ex. B
              moisturizer”. Online search results for “Thrive skincare,”
   3          “Thrive lotion,” and “Thrive moisturizer,” for example,
   4          display results for both TCI and Thrive—along with paid ads
              from TCI.
   5

   6    51.   TCI has paid to advertise its products on Amazon, which is a McArthur
              major online retail partner of Thrive.                       Decl., Ex. B
   7                                                                       at 95:19-24
   8    52.   Thrive’s Thrive Products and TCI’s Infringing Skincare McIntosh
              Products also appear together in searches on online Decl. ¶ 44,
   9          marketplaces, including Amazon, Walmart.com, eBay, and Ex. L
  10          Mercari.
  11    53.   TCI is aware that people purchase TCI products and resell McArthur
  12          those products on other website, including Amazon.com.          Decl., Ex. A
                                                                              at 83:1-10
  13
        54.   Both Thrive and TCI advertise their skincare products on McIntosh
  14          social media, including Facebook and Instagram.                 Decl. ¶ 15;
                                                                              McArthur
  15
                                                                              Decl., Ex. A
  16                                                                          at 42:1-11,
                                                                              137:6-9; Ex.
  17
                                                                              B at 55:17-
  18                                                                          58:1, 68:5-
                                                                              20
  19
        55.   TCI’s use of the THRIVE Mark has caused actual confusion. McIntosh
  20          A customer who purchased Thrive sunscreen on Amazon Decl. ¶ 38,
              gave a highly laudatory review only to end it with: “Well Ex. G
  21
              done, Thrive Causemetics.” Another Amazon customer left a
  22          positive review for Thrive’s moisturizer stating, “Thrive is an
              up and comer in the cosmetics field. Their mascara is
  23
              phenomenal.” Thrive does not sell mascara, but TCI does.
  24

  25
        56.   Walmart—a retail partner of Thrive—erroneously listed McIntosh
              Thrive’s products as originating from TCI on the Decl. ¶ 39,
  26          Walmart.com webpage where consumers could purchase Ex. H
  27
              Thrive’s products.

  28
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   1    57.   A consumer posting an online product listing for Thrive’s McIntosh
   2          products on the Poshmark online marketplace stated in the ad Decl. ¶ 40,
              that Thrive’s products originated from TCI.                  Ex. I
   3

   4    58.   A potential branding partnership between Thrive and two McIntosh
              professional athletes broke down because of confusion Decl. ¶¶ 45-
   5          between Thrive and TCI.                                 46, Ex. M
   6
        59.   Thrive’s marketing expert conducted two 600-person surveys Wallace
   7          comparing skincare products by Thrive to products by TCI Decl. ¶ 9,
   8          and control products from third parties. The survey that tested Ex. A
              Thrive’s newest packaging design found a net 54.5% rate of
   9          confusion between Thrive’s product and TCI’s skincare
  10          product. The survey that tested Thrive’s older packaging
              design found a net 56.6% rate of confusion between Thrive’s
  11          product and TCI’s skincare product.
  12
        60.   TCI considers certain products to be hybrids that are both       McIntosh
  13          skincare products and color cosmetics. These hybrid products     Decl. ¶ 48,
  14          include TCI’s Buildable Blur CC Cream and Filtered Effects       Ex. O;
              Blurring Primer, which TCI has advertised as being skincare      McArthur
  15
              products that provide skin benefits, including acting as a       Decl., Ex. A
  16          moisturizer and a sunscreen.                                     at 29:9-24
  17
        61.   TCI’s hybrid skincare-cosmetic products appear together McIntosh
  18          with Thrive Products in online searches for Thrive skincare Decl., Exs.
              products.                                                      J, K;
  19
                                                                             Wallace
  20                                                                         Decl., Ex. B
        62.   Thrive used the term “Thrive Tribe” extensively as part of its McIntosh
  21
              brand messaging and advertising from December 2013 to Decl. ¶ 19;
  22          2020. TCI used the term “Thrive Tribe” in its own advertising McArthur
              from approximately 2018 to mid-2020. TCI even acquired Decl., Ex. A
  23
              and advertised using a vanity URL “thrivetribe”.               at 175:23-
  24                                                                         177:17,
                                                                             Depo. Exs.
  25
                                                                             35, 36; Ex.
  26                                                                         B at 124:17-
                                                                             125:12
  27

  28
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   1    63.   In or about 2017, TCI began calling its headquarters the      McArthur
   2          “Thrive Lab” in marketing and advertising. TCI used the term  Decl., Ex. A
              “Thrive Lab” in its advertising without including the word    at 177:19-
   3          “Causemetics” in that phrase.                                 178:11; Ex.
   4                                                                        B at 125:24-
                                                                            126:9
   5    64.   TCI has spent millions of dollars on advertising for its McArthur
   6          Infringing Skincare Products. TCI spends approximately 50- Decl., Ex. D
              52% of its revenue from sales of Infringing Skincare Products at 41:3-
   7          on advertising for those products.                            42:13, Depo.
   8                                                                        Ex. 38
   9    65.   TCI’S total revenue in 2020 was $168 million. The media,           McArthur
  10          both industry-specific and national, has heavily covered TCI       Decl., Ex. C
              and Ms. Bodnar. As of July 2020, TCI was reportedly                at 77:15-17;
  11          working with Goldman Sachs to assess an IPO or a sale to a         Ex. M
  12          larger company.
  13    66.   TCI’s total profits from sales of all Infringing Skincare          Drews Decl.
  14          Products from 2018 through May 2021 are $21,524,380.               ¶ 5, Ex. A at
              Total profits are calculated by subtracting TCI’s cost of goods    1; Ex. B at
  15
              sold and direct expenses from gross revenue.                       29
  16
        67.   TCI’s total profits on sales of purely skincare products are Drews Decl.
  17
              $11,698,497. TCI’s total profits on sales of hybrid cosmetics- ¶ 5, Ex. A at
  18          skincare products are $9,825,883.                              1-2, Ex. B at
                                                                             29
  19
        68.   In its calculations of profits, TCI deducted a variety of McArthur
  20          indirect costs, which TCI calculated by allocating a Decl., Ex. C
              percentage of those costs to each product based on the at 55:8-58:7,
  21
              percentage of revenue earned from that product. Those 72:12-22;
  22          allocations had no relation to actual costs for production or 76:4-77:9;
              sale of any particular product.                                Ex. D at
  23
                                                                             43:3-45:8,
  24                                                                         49:19-22,
                                                                             67:4-73:25,
  25
                                                                             Depo. Ex.
  26                                                                         39
  27
        69.   TCI sought to deduct overhead expenses that include a wide McArthur
              variety of items such as rent, travel, employee costs, public Decl., Ex. C
  28
                                                            PLAINTIFF’S STMT OF UNCONTROVERTED
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   1          relations, donations, bank or consulting fees, legal fees, and     at 55:23-
   2          taxes. Those overhead expenses had no relation to the              58:7, 63:17-
              production or sale of any particular product but were merely       66:20, 76:4-
   3          allocated on a percentage basis based on the revenue               77:9; Ex. D
   4          produced by each product.                                          at 49:23-
                                                                                 50:23, Depo.
   5                                                                             Ex. 39
   6    70.   TCI’s pure allocation of costs was created solely for litigation   McArthur
              and is not how TCI allocates costs as part of its business.        Decl., Ex. D
   7                                                                             at 75:13-
   8                                                                             76:2
        71.   Corrective advertising damages, as calculated by Thrive’s          Drews Decl.
   9          damages expert, total $5,796,527. That amount was                  ¶ 6, Ex. A at
  10          determined by taking 25% of TCI’s stated advertising budget        1, 3
              for the Infringing Skincare Products.
  11    72.   Corrective advertising damages for purely skincare products Drews Decl.
  12          total $3,558,649. Corrective advertising damages for hybrid ¶ 6, Ex. A at
              cosmetics-skincare products total $2,237,878.               1, 3
  13

  14    73.   Unless TCI is forced to stop using the THRIVE Mark on McIntosh
              skincare products, the parties will continue to compete Decl. ¶ 49
  15
              against each other in the same market selling the same types
  16          of goods, which will only continue to exacerbate the
              consumer confusion problem caused by TCI.
  17

  18

  19

  20 II.      Conclusions of Law
  21

  22
        No.                               Conclusions of Law
  23    1.  Plaintiff Thrive is entitled to summary judgment that Defendant TCI has
            infringed on Thrive’s registered THRIVE Mark by offering to sell and
  24
            selling skincare products under the THRIVE CAUSEMETICS brand
  25        (“Infringing Skincare Products”). There is no genuine dispute of material
            fact with regard to (1) Thrive’s protectable ownership interest in the
  26
            THRIVE Mark, or (2) TCI’s use of the THRIVE Mark in a way that is
  27        likely to cause consumer confusion. See Network Automation, Inc. v. Adv.
  28
            Sys. Concepts, Inc., 638 F.3d 1137, 1144 (9th Cir. 2011).
                                                            PLAINTIFF’S STMT OF UNCONTROVERTED
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   1

   2    2.    Thrive’s ’942 Registration constitutes “conclusive evidence” of the validity
              of the THRIVE Mark, of the registration of the mark, of Thrive’s
   3          ownership of the THRIVE Mark, and of Thrive’s exclusive right to use the
   4          THRIVE Mark in commerce. 15 U.S.C. § 1115(b); Reno Air Racing Ass’n.,
              Inc. v. McCord, 452 F.3d 1126, 1134 (9th Cir. 2006); Ford Motor Co. v.
   5          Summit Motor Products, Inc., 930 F.2d 277, 291 (3d Cir. 1991) (“If the
   6          mark at issue was federally registered and had become ‘incontestable’,
              pursuant to 15 U.S.C. §§ 1058 and 1065, validity, legal protectability, and
   7          ownership are proved.”).
   8
        3.    Thrive’s ’303 Registration constitutes “‘prima facie evidence’ of the mark’s
   9          validity and entitles [Thrive] to a ‘strong presumption’ that the mark is a
  10          protectable mark.” Zobmondo Entm't, LLC v. Falls Media, LLC, 602 F.3d
              1108, 1113-14 (9th Cir. 2010).
  11

  12    4.    Court must conclusively find that Thrive—as the registrant of the
              incontestable ’942 Registration—is the owner of the THRIVE Mark with
  13          exclusive rights to use that mark in commerce. See 15 U.S.C. § 1115(b). As
  14          additional evidence of ownership, TCI has not rebutted Thrive’s ownership
              of the ’303 Registration. Thrive therefore has a protectable ownership
  15
              interest in the THRIVE Mark, satisfying the first step of the infringement
  16          test. See Network Auto., 638 F.3d at 1144.
  17
        5.    There is no genuine dispute of material fact that would prevent granting
  18          summary judgment in Thrive’s favor on likelihood of confusion, the second
              step of the infringement test. This step considers “whether use of the
  19
              plaintiff’s trademark by the defendant is likely to cause confusion or to
  20          cause mistake, or to deceive as to the affiliation, connection, or association
              of the two products.” Mattel, Inc. v. Walking Mountain Prods., 353 F.3d
  21
              792, 806-07 (9th Cir. 2003). ). In the Ninth Circuit, actionable forms of
  22          confusion include initial interest confusion, point of sale confusion, and
              post-sale confusion. Electropix v. Liberty Livewire Corp., 178 F. Supp. 2d
  23
              1125, 1133 (C.D. Cal. 2001); ACI Int’l Inc. v. Adidas-Salomon AG, 359 F.
  24          Supp. 2d 918, 921 (C.D. Cal. 2005). The Sleekcraft factors guide this
              determination: (1) strength of plaintiff’s mark; (2) relatedness of the goods;
  25
              (3) similarity of the marks; (4) evidence of actual confusion; (5) marketing
  26          channels used; (6) type of goods and the degree of care likely to be
              exercised by the purchaser; (7) defendant’s intent in selecting the mark; and
  27
              the (8) likelihood of expansion of the product lines. DC Comics v. Towle,
  28
                                                           PLAINTIFF’S STMT OF UNCONTROVERTED
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   1          989 F. Supp. 2d 948, 955 (C.D. Cal. 2013), aff’d, 802 F.3d 1012 (9th Cir.
   2          2015) (citing AMF Inc. v. Sleekcraft Boats, 599 F.2d 341, 348-49 (9th Cir.
              1979)). The likelihood of confusion test is “fluid,” and it is not necessary to
   3          meet every factor. Surfvivor Media, Inc. v. Survivor Prods., 406 F.3d 625,
   4          631 (9th Cir. 2005).

   5    6.    “In the internet context, the three most important Sleekcraft factors in
   6          evaluating a likelihood of confusion are (1) the similarity of the marks, (2)
              the relatedness of the goods and services, and (3) the parties’ simultaneous
   7          use of the Web as a marketing channel.” Perfumebay.com Inc. v. eBay, Inc.,
   8          506 F.3d 1165, 1173-74 (9th Cir. 2007); Interstellar Starship Servs., Ltd. v.
              Epix, Inc., 304 F.3d 936, 942 (9th Cir. 2002); BDO Remit (USA), Inc. v.
   9          Stichting BDO, No. 11-CV-04054-MMM-CWX, 2012 WL 12895658, at
  10          *15 (C.D. Cal. Sept. 19, 2012) (holding these factors were most important
              “[i]n the context of parties that use the Internet to market their goods or
  11          services”). “When this controlling troika or internet trinity suggests
  12          confusion is likely, the other factors must weigh strongly against a
              likelihood of confusion to avoid the finding of infringement.”
  13          Perfumebay.com, 506 F.3d at 1173-74.
  14
        7.    The “similarity of marks” Sleekcraft factor weighs heavily in favor of
  15          Thrive. Thrive’s THRIVE Mark and the mark used by TCI, THRIVE
  16          CAUSEMETICS, are virtually identical. TCI incorporated Thrive’s entire
              mark while adding only the descriptive element “Causemetics” to it. The
  17          USPTO has found the term “Causemetics” is merely descriptive, as a
  18          misspelling of “cosmetics,” and required TCI to file a disclaimer of that
              portion of its mark. These similarities weigh heavily in favor of finding a
  19
              likelihood of confusion. See Pom Wonderful LLC v. Hubbard, 775 F.3d
  20          1118, 1127-28 (9th Cir. 2014); Electropix, 178 F. Supp. 2d at 1129;
              Perfumebay.com, 506 F.3d at 1174. Further, the visual and aural
  21
              similarities of the marks, coupled with the fact that Thrive’s THRIVE
  22          Registrations are for standard character marks and entitled to a broad scope
              of coverage, outweigh the differences in the parties’ product packaging. See
  23
              Synoptek, LLC v. Synaptek Corp., 309 F. Supp. 3d 825, 837 (C.D. Cal.
  24          2018); Pom, 775 F.3d at 1125; AOP Ventures, Inc. v. Steam Distribution,
              LLC, No. 15-CV-1586-VAP-KKX, 2016 WL 7336730, at *7 (C.D. Cal.
  25
              Oct. 11, 2016) (order modified on other grounds in 2016 WL 10586307
  26          (C.D. Cal. Dec. 27, 2016)).
  27

  28
                                                            PLAINTIFF’S STMT OF UNCONTROVERTED
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   1    8.    The “relatedness of goods” Sleekcraft factor weighs heavily in favor of
   2          likelihood of confusion because the parties both sell skincare products that
              are identical in kind. See Pom, 775 F.3d at 1127; AOP Ventures, 2016 WL
   3          7336730, at *7 (holding, where goods “are identical in kind and directly
   4          compete with one another,” “[t]his factor . . . weighs heavily in favor of”
              plaintiff); Perfumebay.com, 506 F.3d at 1174 (parties “sell similar products
   5          on the internet—perfume,” which weighed in favor of confusion).
   6
        9.    The Sleekcraft factor relating to marketing channels and use of the internet
   7          for sales and marketing weighs heavily in favor of finding a likelihood of
   8          confusion because: (a) both Thrive and TCI sell competing skincare
              products through their online stores, which are both accessed through
   9          domain names beginning with “thrive” (www.thrivecare.co and
  10          www.thrivecausemetics.com); (b) both parties advertise almost exclusively
              online and on the same social media sites; (c) both parties’ advertisements
  11          and products appear together in online searches on popular search engines
  12          such as Google and Bing, and their products appear together in other online
              marketplaces; and (d) the parties sell through overlapping marketing
  13          channels to the same customer base. See Perfumebay.com, 506 F.3d at
  14          1174; Pom, 775 F.3d at 1130; Sleekcraft, 599 F.2d at 353.
  15    10.   The three most important factors relevant to products sold in e-commerce
  16          favor Thrive, meaning “the other factors must weigh strongly against a
              likelihood of confusion to avoid the finding of infringement.”
  17          Perfumebay.com, 506 F.3d at 1173.
  18
        11.   The “strength of the mark” Sleekcraft factor weighs in favor of finding a
  19
              likelihood of confusion. See See, e.g., Henderson v. Lindland, No. 11-CV-
  20          01350-DDP-DTBX, 2013 WL 1181957, at *4 (C.D. Cal. Mar. 21, 2013),
              aff’d, 602 F. App'x 391 (9th Cir. 2015); Electropix, 178 F. Supp. 2d at
  21
              1128. The THRIVE Mark is arbitrary and receives maximum protection
  22          under the Lanham Act, as it is not descriptive of a particular quality of
              skincare products and has no “obvious” connection to skincare that would
  23
              render the mark suggestive of Thrive’s goods. See Henderson, 2013 WL
  24          1181957, at *4 (holding, at summary judgment stage, that TEAM QUEST
              mark was arbitrary with regard to mixed martial arts gyms, despite services
  25
              relating to groups of professional fighters); Dreamwerks Prod. Group, Inc.
  26          v. SKG Studio, 142 F.3d 1127, 1131 (9th Cir. 1998) (finding
              DREAMWORKS arbitrary with regard to movie production services
  27
              although such services arguably brought dreams to life); cf. Glow Ind., Inc.
  28
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   1          v. Lopez, 252 F. Supp. 2d 962, 980 (C.D. Cal. 2002) (finding GLOW to be
   2          suggestive of bath and body products because it implied the products left
              the skin “glowing”). Further, Thrive has used the mark in commerce
   3          continuously since 2013 and is the only holder of trademark registration for
   4          the mark “THRIVE” in relation to skincare products. See Electropix, 178 F.
              Supp. 2d at 1128 (explaining that “long and continuous use of a mark in the
   5          marketplace enhances its strength.”).
   6
        12.   The “strength of the mark” Sleekcraft factor also favors finding for Thrive
   7          with regard to its claim of reverse confusion. See Drain v. Newsted, 307 F.
   8          Supp. 2d 1116, 1124-25 (C.D. Cal. 2003) (on reverse confusion claim,
              under this factor courts “evaluate the strength of the junior user’s mark so
   9          as to gauge its ability to overpower the senior user’s mark.”). TCI’s
  10          THRIVE CAUSEMETICS mark has significant commercial strength, and
              that TCI has conducted advertising and marketing campaigns that have
  11          “resulted in a saturation in the public awareness of the junior user’s mark.”
  12          Id. at 1125.
  13    13.   The “actual confusion” factor therefore weighs heavily in favor of finding a
  14          likelihood of confusion because Thrive has offered evidence of actual
              confusion by consumers and retailers between the parties or their products.
  15          See Thane Int’l v. Trek Bicycle Corp., 305 F.3d 894, 902 (9th Cir. 2002)
  16          (actual confusion evidence “constitutes persuasive proof that future
              confusion is likely.”); Synoptek, 309 F. Supp. 3d at 839 (“Evidence of
  17          actual consumer confusion is not necessary for a finding of likelihood of
  18          confusion, but it bears on the inquiry and is particularly potent.”).
  19
        14.   Thrive’s expert consumer surveys also strongly support finding a likelihood
  20          of confusion. See Playboy Enters., Inc. v. Netscape Comm. Corp., 354 F.3d
              1020, 1026 n.28 (9th Cir. 2004) (courts regularly accept the results of
  21
              consumer surveys as surrogate evidence of actual confusion). Thrive’s
  22          surveys found a net 54.5% rate of confusion between Thrive’s newer
              packaging and a TCI skincare product, and a net 56.6% rate of confusion
  23
              between Thrive’s older packaging and a TCI skincare product. Those rates
  24          of confusion constitute “persuasive evidence” of likely confusion. 6 J.
              Thomas McCarthy, McCarthy on Trademarks & Unfair Competition §
  25
              32:188 (confusion levels over 50 percent are “persuasive evidence” of
  26          likely confusion)); Warner Bros. Ent. v. Glob. Asylum, Inc., No. CV 12-
              9547 PSG, 2012 WL 6951315, at *10 (C.D. Cal. Dec. 10, 2012)
  27
              (“Generally, confusion levels of 25 to 50 percent provide ‘solid support’ for
  28
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   1          a finding of likelihood of confusion, while confusion rates below 20
   2          percent support a finding of confusion only in connection with other
              corroborating evidence.”) (citing Fiji Water Co. v. Fiji Mineral Water USA,
   3          LLC, 741 F. Supp. 2d 1165, 1179 (C.D. Cal. 2010) (granting a preliminary
   4          injunction where survey evidence from over 400 respondents showed a
              confusion level of 24.2 percent); E.J. Gallo Winery v. Pasatiempos Gallo,
   5          905 F. Supp. 1403, 1409 (E.D. Cal. 1994) (rate between 18-20 percent
   6          demonstrated “significant level” of confusion).

   7    15.   The “degree of care” Sleekcraft factor favors finding a likelihood of
   8          confusion because the goods in question are relatively inexpensive and the
              parties’ brands are centered on the same name—THRIVE. See Electropix,
   9          178 F. Supp. 2d at 1131 (holding that less care is exercised where products
  10          are fungible and not unique, and “virtually no amount of consumer care can
              prevent confusion where two entities have the same name.”); Pom, 775
  11          F.3d at 1127 (“Unlike purchasers of expensive goods—whom we expect to
  12          be more discerning and less easily confused—purchasers of inexpensive
              goods are likely to exercise less care, thus making confusion more likely.”).
  13          “[T]he standard of care to be exercised by the reasonably prudent purchaser
  14          will be equal to that of the least sophisticated consumer.” Goto.com, 202
              F.3d at 1209; Stark v. Diageo Chateau & Estate Wines Co., 907 F. Supp.
  15          2d 1042, 1065 (N.D. Cal. 2012). “Although the wholly indifferent may be
  16          excluded, the standard includes the ignorant and the credulous.” Sleekcraft,
              599 F.2d at 353. “What is expected of this reasonably prudent consumer
  17          depends on the circumstances.” Id. Under the circumstances here, including
  18          that TCI has incorporated the entire THRIVE Mark into TCI’s brand, the
              goods are identical in kind, and the prices range between $10 and $65,
  19          consumers are likely to exercise a relatively low standard of care and are
  20          highly likely to be confused. See Electropix, 178 F. Supp. 2d at 1131
              (finding a high degree of care where parties offered “specialized, custom-
  21          tailored technical and creative services to sophisticated customers,” but
  22          holding this factor still weighed in plaintiff’s favor where names were
              nearly identical); Stark, 907 F. Supp. 2d at 1065 (finding wine purchasers
  23
              exercised low degree of care, thus supporting likelihood of confusion).
  24
        16.   The “defendant’s intent” Sleekcraft factor favors finding a likelihood of
  25
              confusion because TCI knew of Thrive’s THRIVE Mark and Thrive’s
  26          trademark registrations at the time when TCI expanded into the skincare
              market and began selling the Infringing Skincare Products. See Brookfield,
  27
              174 F.3d at 1059; Synoptek, 309 F. Supp. 3d at 841 (finding this factor
  28          weighed in favor of likelihood of confusion where defendant’s founders
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   1          were not aware of plaintiff at time they chose the accused mark, but they
   2          continued to use the accused mark after having “constructive or actual
              knowledge of the [plaintiff’s] mark” from PTO office actions); Brooklyn
   3          Brewery Corp. v. Black Ops Brewing, Inc., 156 F. Supp. 3d 1173, 1184
   4          (E.D. Cal. 2016) (factor favors plaintiff where “[e]ven though the
              injunctive record supports Defendant’s assertion that it selected its mark in
   5          good faith, Defendant continued using its mark after it became aware of
   6          Plaintiff’s registered mark.”). The “appropriate inquiry” is whether TCI had
              actual knowledge of Thrive’s existence and mark usage at the point when
   7          TCI began to use the infringing mark in the relevant skincare market.
   8          SunEarth, Inc. v. Sun Earth Solar Power Co., 846 F. Supp. 2d 1063, 1080
              (N.D. Cal. 2012). By the time TCI expanded into skincare in 2018, TCI
   9          was in possession of a trademark clearance report identifying Thrive’s ’942
  10          Registration as a potential conflict, and TCI had received two Office
              Actions from the PTO identifying the THRIVE Registrations as conflicts.
  11          TCI had also received a cease-and-desist letter from Thrive, and TCI’s
  12          founder had received a rejection from Thrive of her request to use the
              THRIVE Mark for TCI’s business. There is thus no doubt that TCI acted
  13          with knowledge and intentional disregard of Thrive’s trademark rights. See
  14          Bellagio Jewelry, Inc. v. Croton Watch Co., No. CV-06-6672-ODW-RZx,
              2008 WL 3905895, at *10 (C.D. Cal. Aug. 20, 2008) (“[A]fter Plaintiffs’
  15          cease and desist letter . . . Croton continued to use the Bellagio mark to
  16          market its watches. While there is no evidence that Croton maliciously
              intended to deceive consumers, this factor still tips in favor of Plaintiffs.”);
  17          Synoptek, 309 F. Supp. 3d at 841; Brooklyn Brewery, 156 F. Supp. 3d at
  18          1184.
  19    17.   The “expansion of product lines” Sleekcraft factor weighs in favor of
  20          finding a likelihood of confusion, as the parties will continue to be direct
              competitors and there is “potential for even more direct competition
  21          between the two lines in the future.” Glow, 252 F. Supp. 2d at 1001; Stark,
  22          907 F. Supp. 2d at 1064. However, where “the parties already compete to a
              significant degree because they sell related products and use similar
  23
              marketing channels, this factor is relatively unimportant to the likelihood of
  24          confusion analysis.” Fiji Water, 741 F. Supp. 2d at 1183.
  25
        18.   The three factors that courts have found most important in e-commerce
  26          infringement cases—similarity of the marks, relatedness of the goods, and
              use of similar marketing channels—strongly favor finding a likelihood of
  27
              confusion. See GoTo.com, 202 F.3d at 1205; Brookfield, 174 F.3d at 1054.
  28          The remaining factors therefore would have to “weigh strongly against a
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   1          likelihood of confusion to avoid the finding of infringement.”
   2          Perfumebay.com, 506 F.3d at 1173-74. But the other factors do not support
              TCI either.
   3

   4    19.   In an analysis of the totality of the Sleekcraft factors, the Court finds that
              Thrive is entitled to summary judgment in its favor on trademark
   5          infringement. See AOP Ventures, 2016 WL 7336730, at *9 (granting
   6          summary judgment of infringement where the court’s “review of the
              Sleekcraft factors reveals six factors weigh in favor of a likelihood of
   7          consumer confusion and the remaining two factors are neutral.”); Synoptek,
   8          309 F. Supp. 3d at 842 (granting summary judgment for plaintiff on
              likelihood of confusion where “the factors of the similarity of the marks,
   9          the proximity of the goods, and the strength of [plaintiff’s] mark, are
  10          particularly probative of a likelihood of confusion” and the USPTO had
              refused the defendant’s attempt to register its accused mark due to a
  11          conflict with plaintiff’s mark.). The relevant factors here weigh strongly in
  12          favor of finding that a likelihood of confusion exists between Thrive’s
              THRIVE skincare products and TCI’s THRIVE CAUSEMETICS skincare
  13          products, and no factor favors TCI.
  14
        20.   Because the Court grants summary judgment in Thrive’s favor on federal
  15          trademark infringement, summary judgment in Thrive’s favor is also
  16          warranted on its federal unfair competition claim and its state law claims,
              which all rely on the same analysis. See AOP Ventures, 2016 WL 7336730,
  17          at *9; Brookfield, 174 F.3d at 1046 n.6.
  18
        21.   Thrive is entitled to summary judgment on its claim that TCI’s
  19
              infringement was willful. There is no dispute that TCI knew of its
  20          competitor Thrive’s rights in 2018 when TCI began selling skincare
              products, and TCI proceeded to broadly use the THRIVE Mark on directly
  21
              competitive skincare products at Thrive’s expense. See Lindy Pen Co. v.
  22          Bic Pen Corp., 982 F.2d 1400, 1406 (9th Cir. 1993); Razor USA LLC v.
              Vizio, Inc., No. 14-CV-01586S-JOJ-CGX, 2015 WL 12656941, at *6 (C.D.
  23
              Cal. Oct. 19, 2015).
  24
        22.   There is “strong evidence of willful infringement” in the undisputed facts
  25
              that—prior to TCI expanding into the skincare market in competition with
  26          Thrive—TCI was in possession of a trademark clearance search identifying
              Thrive’s trademark registration as a potential conflict, and TCI had
  27
              received two PTO Office Actions recognizing TCI’s use of the THRIVE
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                                                            PLAINTIFF’S STMT OF UNCONTROVERTED
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   1          CAUSEMETICS brand created a likelihood of confusion with the THRIVE
   2          Registrations. Razor USA, 2015 WL 12656941, at *6 (“Use of an infringing
              mark, in the face of warnings about potential infringement, is strong
   3          evidence of willful infringement.”) (quoting E. & J. Gallo Winery v.
   4          Consorzio del Gallo Nero, 782 F.Supp. 472, 475 (N.D. Cal. 1992) (holding
              defendant “was on notice that there could be a likelihood of confusion”
   5          when Canadian trademark officials cited plaintiff’s mark as a reason for
   6          denying defendant’s trademark application)); see also Synoptek, LLC v.
              Synaptek Corp., No. SA-CV-1601838-CJC-JCGX, 2018 WL 3359017
   7          (“Synoptek II”), at *9 (C.D. Cal. June 4, 2018) (“Synaptek nevertheless
   8          continued to use the ‘Synaptek’ mark and to pursue federal registration of
              that mark despite multiple PTO denials on the same grounds. Synaptek’s
   9          blatant use of the ‘Synaptek’ mark in spite of the PTO denials provides
  10          strong evidence of willful infringement.”). There is “no doubt but that
              [TCI] was on notice that there could be a likelihood of confusion caused by
  11          its use of the “[THRIVE]” mark.” Consorzio, 782 F.Supp. at 475. While
  12          TCI was able to overcome the PTO’s 2015 rejection based on Thrive’s ’942
              Registration, TCI did so by arguing that its color cosmetics were in a
  13          different category of goods from Thrive’s skincare products. That argument
  14          could no longer apply when TCI expanded into skincare in 2018. See
              Synoptek II, 2018 WL 3359017, at *10 (holding defendant’s belief it was
  15          not infringing was not reasonable “because . . . the PTO’s decision directly
  16          contradicted this belief.”).
  17    23.   The undisputed fact that TCI received a cease-and-desist letter from Thrive
  18          prior to expanding into the skincare market also strongly supports a finding
              of willful infringement. See Consorzio, 782 F.Supp. at 475. While TCI
  19          responded to that letter arguing its color cosmetics differed from Thrive’s
  20          skincare products, that argument no longer carried force when TCI started
              selling skincare products in 2018. While TCI may have had reason to
  21          believe it did not infringe when selling color cosmetics, that belief could
  22          not have been reasonable when applied to its sale of skincare products. See
              Synoptek II, 2018 WL 3359017, at *10 (finding willful infringement where
  23
              “Synaptek’s continued use of ‘Synaptek’ demonstrates an indifference to
  24          Synoptek’s trademark rights and a willingness to determine unilaterally, in
              spite of the PTO’s denials, that Synoptek’s rights in its marks should be
  25
              ignored.”); Bellagio, 2008 WL 3905895, at *10. It is undisputed that TCI
  26          entered the skincare market and began using the THRIVE Mark in direct
              competition with Thrive after TCI: (a) obtained a clearance report
  27
              identifying Thrive’s registration as a conflict; (b) received two PTO Office
  28          Actions identifying Thrive’s trademarks as conflicts; (c) received Thrive’s
                                                          PLAINTIFF’S STMT OF UNCONTROVERTED
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   1          cease-and-desist letter; and (d) received Thrive’s CEO’s denial of TCI’s
   2          founder’s request for permission to use the THRIVE Mark. As such, there
              is thus no genuine dispute with regard to willful infringement, and Thrive is
   3          entitled to summary judgment on that issue.
   4
        24.   Thrive is entitled to summary judgment on disgorgement of TCI’s profits
   5          under 15 U.S.C. § 1117(a). While willful infringement is not required to
   6          receive disgorgement, Thrive has shown TCI possessed mens rea to
              infringe, which remains “a highly important consideration in determining
   7          whether an award of profits is appropriate.” Romag Fasteners, Inc v.
   8          Fossil, Inc., 140 S. Ct. 1492, 1497 (2020). Disgorgement is also a proper
              remedy because it ensures TCI does not profit from its infringement and
   9          serves to deter similarly-situated defendants. See Monster Energy Co. v.
  10          Integrated Supply Network, LLC, No. ED-CV-17548-CBM-RAOx, 2021
              WL 1521981, at *2 (C.D. Cal. Apr. 12, 2021); Playboy Enters., Inc. v.
  11          Baccarat Clothing Co., 692 F.2d 1272, 1275 (9th Cir. 1982) (“Any other
  12          remedy” besides disgorgement of profits earned from the infringing activity
              “results in the defendants being unjustly enriched.”).
  13

  14    25.   Thrive is entitled to an award of disgorgement of TCI’s profits from sales
              of Infringing Skincare Products in the amount of $21,524,380, which
  15          constitutes TCI’s gross revenues minus direct expenses, including cost of
  16          goods sold, relating to sale of those products. See 15 U.S.C. § 1117(a).
  17
        26.   TCI has failed to meet its burden of proving claimed indirect expenses were
  18          “of actual assistance” in the production, distribution, or sale of the
              infringing products, and therefore such indirect expenses are not properly
  19
              deductible from the award of total profits. Kamar Int’l, Inc. v. Russ Berrie
  20          & Co., 752 F.2d 1326, 1332 (9th Cir. 1984); Folkens v. Wyland, No. C-01-
              1241 EDL, 2002 WL 1677708, at *5 (N.D. Cal. July 22, 2002) (holding
  21
              that a “pure allocation” of indirect expenses based on percentage of revenue
  22          is not permissible and has been “specifically rejected” by the Ninth
              Circuit); Frank Music Corp. v. Metro-Goldwyn-Mayer, Inc., 772 F.2d 505,
  23
              516 (9th Cir. 1985) (rejecting defendants’ attempt to deduct indirect costs
  24          based on allocation by percentage of revenue, as “[t]hat is not the law of
              this circuit.”); Lindy Pen, 982 F.2d at 1408.
  25

  26    27.   Thrive is entitled to summary judgment on corrective advertising damages
              and an award of corrective advertising damages in the amount of
  27
              $5,796,527. See Adray v. Adry-Mart, Inc., 76 F.3d 984, 988 (9th Cir. 1995)
  28
                                                           PLAINTIFF’S STMT OF UNCONTROVERTED
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   1          (approving of recover of corrective advertising damages); Marketquest
   2          Grp., Inc. v. BIC Corp., No. 11-CV-618-BAS (JLB), 2018 WL 1756117, at
              *5 (S.D. Cal. Apr. 12, 2018) (“Recovery of both past and future corrective
   3          advertising costs is permitted.”) (citing Adray, 76 F.3d at 988-89; Big O
   4          Tire Dealers, Inc. v. Goodyear Tire & Rubber Co., 561 F.2d 1365, 1374-76
              (10th Cir. 1977). This award of corrective advertising damages is properly
   5          based on the Ninth Circuit’s approved standard of 25% of a defendant’s
   6          advertising budget, consistent with the Federal Trade Commission’s “rule
              requiring businesses engaged in misleading advertising to spend 25% of
   7          their budget on corrective advertising . . . .” Marketquest, 2018 WL
   8          1756117, at *5; Big O Tire, 561 F.2d at 1375-76 (adopting 25% rule);
              Ardray, 76 F.3d at 989 (approving of 25% rule).
   9

  10    28.   Given the undisputed evidence, the Court finds it proper to grant a
              permanent injunction barring TCI from making or selling Infringing
  11          Skincare Products or otherwise infringing Thrive’s THRIVE Mark. See 15
  12          U.S.C. § 1116(a). Because Thrive has proven infringement, it is entitled a
              presumption of irreparable harm pursuant to the recent Trademark
  13          Modernization Act of 2020. See id. The undisputed facts establish that
  14          Thrive has suffered irreparable harm in the loss of control over its brand,
              goodwill, and reputation. See Vineyard House, LLC v. Constellation
  15          Brands U.S. Ops., Inc., No. 4:19-CV-01424-YGR, 2021 WL 254448, at
  16          *14 (N.D. Cal. Jan. 26, 2021) (“The loss of control over one’s trademarks,
              reputation, and goodwill is ‘a quintessentially irreparable injury.”) (quoting
  17          Adidas Am., Inc. v. Skechers USA, Inc., 149 F. Supp. 3d 1222, 1249 (D. Or.
  18          2016) and McCarthy on Trademarks, § 30:47.70 (“A likelihood of damage
              to reputation is by its nature ‘irreparable.’ Like trying to un-ring a bell,
  19          trying to ‘compensate’ after the fact for damage to business goodwill and
  20          reputation cannot constitute a just or full compensation.”)); see also Ossur
              hf v. Manamed Inc., 331 F. Supp. 3d 1005, 1017 (C.D. Cal. 2017) (“By
  21          borrowing [plaintiff]’s mark, Defendants impair [plaintiff]’s control over
  22          its reputation” and finding irreparable harm where defendant used mark
              “Offloader One” for knee braces, which was substantially similar to
  23
              plaintiff’s “Unloader One” mark for the same products); Fiji Water, 741 F.
  24          Supp. 2d at 1183 (“If VITI continues to introduce its infringing product
              into the marketplace, FIJI will undoubtedly have great difficulty
  25
              maintaining and restoring its reputation and goodwill with the public, many
  26          of whom are already confused.”); Starbucks Corp. v. Heller, No. CV-14-
              01383-MMM-MRWx, 2014 WL 6685662, at *8 (C.D. Cal. Nov. 26, 2014)
  27
              (“[T]he injury caused by the presence of infringing products in the
  28          market—such as lost profits and customers, as well as damage to goodwill
                                                           PLAINTIFF’S STMT OF UNCONTROVERTED
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   1          and business reputation—will often constitute irreparable injury.”).
   2          Without an injunction, “[TCI] will continue to try and use the [THRIVE]
              term for its own benefit and such use will not only be a violation of
   3          [Thrive]’s trademark rights but will harm the public as it will suggest an
   4          inference regarding the origin of the [accused goods] that is unsupported in
              any credible manner. [TCI] will suffer no hardship as it has no right, or
   5          credible basis, to use the term.” Vineyard House, 2021 WL 254448, at *14.
   6          The undisputed facts and the Court’s findings therefore warrant granting a
              permanent injunction as requested by Thrive.
   7

   8

   9
        DATED: August 6, 2021                    Respectfully submitted,
  10

  11                                             THE MCARTHUR LAW FIRM, PC
  12                                             By: /s/ Stephen McArthur
  13                                                 Stephen McArthur
                                                     Thomas Dietrich
  14                                                Attorneys for Plaintiff Thrive
                                                    Natural Care, Inc.
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